 Fill in this information to identify your case:


 Debtor 1            Eric Walker Brown
                    ________________________________________________________________
                     First Name             Middle Name                      Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                      Last Name

                                           Alabama - Northern
   United States Bankruptcy Court for the:__________________________________

 Case number
  (If known)
                     ___________________________________________                                                                                   Check if this is an
                                                                                                                                                      amended filing




Official Form 103B
Application to Have the Chapter 7 Filing Fee Waived                                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known).

 Part 1:            Tell the Court About Your Family and Your Family’s Income



1. What is the size of your family?               Check all that apply:
    Your family includes you, your
    spouse, and any dependents listed             ■
                                                          You
    on Schedule J: Your Expenses                  ■
                                                          Your spouse
    (Official Form 106J).                                                               1                     3
                                                  ■
                                                          Your dependents             ___________________     _____________________
                                                                                      How many dependents?    Total number of people


2. Fill in your family’s average
    monthly income.                                                                                                                         That person’s average
                                                                                                                                            monthly net income
    Include your spouse’s income if                                                                                                         (take-home pay)
    your spouse is living with you, even        Add your income and your spouse’s income. Include the
    if your spouse is not filing.               value (if known) of any non-cash governmental assistance                                      0.00
                                                                                                              You ..................         $_________________
                                                that you receive, such as food stamps (benefits under the
    Do not include your spouse’s                Supplemental Nutrition Assistance Program) or housing
    income if you are separated and             subsidies.
    your spouse is not filing with you.
                                                If you have already filled out Schedule I: Your Income, see   Your spouse ...           +    1,200.00
                                                                                                                                            $_________________
                                                line 10 of that schedule.

                                                                                                              Subtotal .............          1,200.00
                                                                                                                                             $_________________

                                                Subtract any non-cash governmental assistance that you
                                                included above.                                                                         –    0.00
                                                                                                                                            $_________________


                                                Your family’s average monthly net income                      Total .................         1,200.00
                                                                                                                                             $_________________



                                                                                         Type of assistance
3. Do you receive non-cash                        ■
                                                          No
    governmental assistance?
                                                         Yes. Describe. ..........



4. Do you expect your family’s                    ■
                                                          No
    average monthly net income to
    increase or decrease by more than
                                                         Yes. Explain. .............
    10% during the next 6 months?


5. Tell the court why you are unable to pay the filing fee in
    installments within 120 days. If you have some additional
    circumstances that cause you to not be able to pay your filing
    fee in installments, explain them.




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Debtor 1       Eric Walker Brown
              _______________________________________________________                            Case number (if known) _____________________________________
              First Name     Middle Name         Last Name


 Part 2:       Tell the Court About Your Monthly Expenses

6. Estimate your average monthly expenses.
    Include amounts paid by any government assistance that you                3,281.00
                                                                             $___________________
    reported on line 2.
    If you have already filled out Schedule J, Your Expenses, copy
    line 22 from that form.

7. Do these expenses cover anyone           ■
                                                  No
    who is not included in your family
    as reported in line 1?
                                                 Yes. Identify who ........


8. Does anyone other than you
    regularly pay any of these              ■
                                                  No
    expenses?                                    Yes. How much do you regularly receive as contributions? $_________ monthly
    If you have already filled out
    Schedule I: Your Income, copy the
    total from line 11.

9. Do you expect your average               ■
                                                  No
    monthly expenses to increase or
    decrease by more than 10% during
                                                 Yes. Explain ...............
    the next 6 months?

Part 3:        Tell the Court About Your Property


 If you have already filled out Schedule A/B: Property (Official Form 106A/B) attach copies to this application and go to Part 4.


10. How much cash do you have?
    Examples: Money you have in
    your wallet, in your home, and on       Cash:                           $_________________
    hand when you file this application

11. Bank accounts and other deposits                                        Institution name:                                       Amount:
    of money?
    Examples: Checking, savings,            Checking account:               __________________________________________________     $__________________
    money market, or other financial
    accounts; certificates of deposit;      Savings account:                __________________________________________________     $__________________
    shares in banks, credit unions,
    brokerage houses, and other             Other financial accounts:       __________________________________________________     $__________________
    similar institutions. If you have
    more than one account with the                                                                                                 $__________________
    same institution, list each. Do not     Other financial accounts:       __________________________________________________
    include 401(k) and IRA accounts.

12. Your home? (if you own it outright or
                                            _______________________________________________________
    are purchasing it)                      Number   Street                                                     Current value:      $_________________
    Examples: House, condominium,           _______________________________________________________             Amount you owe
    manufactured home, or mobile home       City                           State         ZIP Code               on mortgage and     $_________________
                                                                                                                liens:

13. Other real estate?
                                            _______________________________________________________             Current value:      $_________________
                                            Number   Street
                                                                                                                Amount you owe
                                            _______________________________________________________             on mortgage and     $_________________
                                            City                           State         ZIP Code               liens:

14. The vehicles you own?                   Make:        _____________________
                                                                                                                Current value:      $_________________
    Examples: Cars, vans, trucks,           Model:       _____________________
    sports utility vehicles, motorcycles,   Year:        ____________                                           Amount you owe
    tractors, boats                                                                                             on liens:           $_________________
                                            Mileage      _____________________

                                            Make:        _____________________
                                            Model:       _____________________                                  Current value:      $_________________
                                            Year:        ____________
                                                                                                                Amount you owe
                                            Mileage      _____________________                                  on liens:           $_________________




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Debtor 1      Eric Walker Brown
             _______________________________________________________                                Case number (if known) _____________________________________
             First Name      Middle Name        Last Name



15. Other assets?                          Describe the other assets:
                                                                                                                    Current value:     $_________________
    Do not include household items                                                                                                      $_________________
    and clothing.                                                                                                   Amount you owe
                                                                                                                    on liens:



16. Money or property due you?             Who owes you the money or property?                        How much is owed? Do you believe you will likely receive
                                                                                                                        payment in the next 180 days?
    Examples: Tax refunds, past due
    or lump sum alimony, spousal           ___________________________________________                $_________________        No
    support, child support,                                                                           $_________________
    maintenance, divorce or property
                                           ___________________________________________                                          Yes. Explain:
    settlements, Social Security
    benefits, workers’ compensation,
    personal injury recovery



 Part 4:      Answer These Additional Questions


 17. Have you paid anyone for                   No
     services for this case, including                                                                                                 How much did you pay?
     filling out this application, the
                                           ■
                                                 Yes. Whom did you pay? Check all that apply:
     bankruptcy filing package, or the                     ■
                                                                An attorney
                                                                                                                                         700.00
     schedules?                                                                                                                        $______________________
                                                               A bankruptcy petition preparer, paralegal, or typing service
                                                               Someone else ________________________________________

 18. Have you promised to pay or do        ■
                                                 No
     you expect to pay someone for
     services for your bankruptcy
                                                Yes. Whom do you expect to pay? Check all that apply:
                                                                                                                                       How much do you
     case?                                                     An attorney                                                            expect to pay?
                                                               A bankruptcy petition preparer, paralegal, or typing service
                                                                                                                                       $_______________________
                                                               Someone else _________________________________________


 19. Has anyone paid someone on            ■
                                                 No
     your behalf for services for this
     case?
                                                Yes. Who was paid on your behalf?                    Who paid?                        How much did
                                                      Check all that apply:                           Check all that apply:            someone else pay?

                                                               An attorney                              Parent
                                                                                                                                       $______________________
                                                               A bankruptcy petition preparer,          Brother or sister
                                                                paralegal, or typing service             Friend
                                                               Someone else _________________           Pastor or clergy
                                                                                                         Someone else __________

 20. Have you filed for bankruptcy         ■
                                                 No
     within the last 8 years?
                                                Yes. District _____________________________ When _____________ Case number _____________________
                                                                                                            MM/ DD/ YYYY

                                                        District _____________________________ When _____________ Case number _____________________
                                                                                                    MM/ DD/ YYYY

                                                        District _____________________________ When _____________ Case number _____________________
                                                                                                    MM/ DD/ YYYY

 Part 5:      Sign Below

  By signing here under penalty of perjury, I declare that I cannot afford to pay the filing fee either in full or in installments. I also declare
  that the information I provided in this application is true and correct.


 _____________________________________________
   /s/ Eric Brown                               _____________________________________________
     Signature of Debtor 1                                       Signature of Debtor 2

           08/01/2019
     Date __________________                                     Date __________________
          MM / DD / YYYY                                              MM / DD / YYYY




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 Fill in this information to identify the case:

 Debtor 1            Eric Walker Brown
                    ________________________________________________________________
                     First Name                    Middle Name         Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                    Middle Name         Last Name

                                          Alabama - Northern District of __________
 United States Bankruptcy Court for the: _________________________                 AL
                                                                                    (State)

 Case number         _____________________________________________
  (If known)




Order on the Application to Have the Chapter 7 Filing Fee Waived

After considering the debtor’s Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B), the court
orders that the application is:

[ ] Granted. However, the court may order the debtor to pay the fee in the future if developments in
             administering the bankruptcy case show that the waiver was unwarranted.

[ ] Denied. The debtor must pay the filing fee according to the following terms:


                                          You must pay…            On or before this date…


                                                                    _____________
                                          $_____________            Month / day / year

                                          $_____________            _____________
                                                                    Month / day / year

                                          $_____________            _____________
                                                                    Month / day / year

                                      +   $_____________            _____________
                                                                    Month / day / year
                         Total


                       If the debtor would like to propose a different payment timetable, the debtor must file a
                       motion promptly with a payment proposal. The debtor may use Application for Individuals to
                       Pay the Filing Fee in Installments (Official Form 103A) for this purpose. The court will
                       consider it.

                       The debtor must pay the entire filing fee before making any more payments or transferring any
                       more property to an attorney, bankruptcy petition preparer, or anyone else in connection with the
                       bankruptcy case. The debtor must also pay the entire filing fee to receive a discharge. If the
                       debtor does not make any payment when it is due, the bankruptcy case may be dismissed and
                       the debtor’s rights in future bankruptcy cases may be affected.

[ ] Scheduled for hearing.

                       A hearing to consider the debtor’s application will be held

                        on _____________ at _________ AM / PM at _________________________________________.
                              Month / day / year                                      Address of courthouse


                       If the debtor does not appear at this hearing, the court may deny the application.

                       _____________                                By the court: _____________________________________
                       Month / day / year                                                United States Bankruptcy Judge

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